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               Case 23-11187              Doc 1          Filed 08/24/23 Entered 08/24/23 20:44:17                               Desc Main
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               Chicagoland Guns & Range, LLC
Debtor                                                                                                               , _____________
                                                                                                Case number(lf/cnolmJ_
               Name




11. Why is the case filed In this         Check all that apply:
   district?
                                          Iii Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                          □ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
12. Does the debtor own or have           IZJNo
   possession of any real
   property or personal property
                                          □ Yes.Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   that needs immediate                              Why does the property need immediate attention? (Check all that appy.)
   attention?
                                                     □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? __________________________

                                                     □ It needs to be physically secured or protected from the weather.
                                                     □ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                     □ Other __________________________

                                                     Where is the property?__________________________
                                                                               Number         Street




                                                                               City                                            State      ZIP Code


                                                     Is the property insured?
                                                     □ No
                                                     □ Yes.   Insurance agency _________________________

                                                              Contact name

                                                              Phone




          Statistical and administrative Information



13. Debtor's estimation of                Check one:
    available funds                       Iii Funds will be available for distribution to unsecured creditors.
                                          □ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                          Iii 1-49                           □ 1,000-5,000                            □ 25,001-50,000
14. Estimated number of
                                          □ 50-99                            □ 5,001-10,000                           □ 50,001-100,000
   creditors
                                          □ 100-199                          □ 10,001-25,000                          □ More than 100,000
                                          □ 200-999
                                           $0-$50,000                        □ $1,000,001-$10 million                 □ $500,000,001-$1 billion
15. Estimated assets                      □ $50,001-$100,000                 □ $10,000,001-$50 million                □ $1,000,000,001-$10 billion
                                          □ $100,001-$500,000                □ $50,000,001-$100 million               □ $10,000,000,001-$50 billion
                                          □ X$500,001-$1                     □ $100,000,001-$500 million              □ More than $50 billion
                                               million



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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

        In re:                             ) Case No.
                                           )
        Chicagoland Guns & Range, LLC,     ) Chapter 11
                                           )
        Debtor                             ) Judge

                                   LIST OF CREDITORS


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Illinois Department of Revenue
Bankruptcy Section
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